                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 HEADWATER RESEARCH LLC,

                        Plaintiff,                    Case No. 2:23-cv-00352-JRG-RSP

                 v.
                                                      JURY TRIAL DEMANDED
 CELLCO PARTNERSHIP D/B/A VERIZON
 WIRELESS AND VERIZON CORPORATE
 SERVICES GROUP, INC.,

                        Defendants.



             JOINT CLAIM CONSTRUCTION CHART (LOCAL P.R. 4-5(d))

       Pursuant to Local Patent Rule 4-5(d), and the Court’s Docket Control Order (Dkt. 40),

Plaintiff Headwater Research, LLC (“Headwater”) and Defendants Cellco Partnership, d/b/a

Verizon Wireless and Verizon Corporate Services Group Inc. (collectively, “Defendants” or

“Verizon”) (all together, the “parties”) respectfully submit the following Joint Claim Construction

Chart containing the agreed and disputed claim terms, phrases, or clauses of U.S. Patent Nos.

8,589,541 (the “’541 Patent”); 9,198,042 (the “’042 Patent”); and 9,215,613 (the “’613 Patent”).

A chart identifying the parties’ disputed constructions is attached hereto as Exhibit A, listing the

complete language of claims with terms in bold type and separate columns for each party’s

proposed construction, pursuant to P.R. 4-5(d). The parties have not agreed upon any

constructions.




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Dated: November 5, 2024

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                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served this 5th day of November 2024, with a copy of this document via the

Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                    /s/ Marc Fenster
                                                    Marc Fenster




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